      Case 19-34054-sgj11 Doc 2916 Filed 10/12/21                  Entered 10/12/21 16:03:09          Page 1 of 1
BTXN 027 (rev. 06/13)
                                         UNITED STATES BANKRUPTCY COURT
                                           NORTHERN DISTRICT OF TEXAS


In Re:                                                       §
Highland Capital Management, L.P.                            §    Case No.: 19−34054−sgj11
                                                             §    Chapter No.: 11
                                           Debtor(s)         §


Dear Mr. Zachery,:

     The above referenced case has been reviewed as part of the Clerk's Office continuing effort to identify cases that
are deficient for specific documents. Our review indicates that this case requires:

                Interim Report
                Trustee's Final Account
                Trustee's Final Report
                341 Meeting Minute Sheet and Exempt Property Report
                Report of Trustee in No−Asset Case and Application for Closing
                Motion to Dismiss debtor's Failure to Attend 341 Meeting
                Other: Please file and amended appellee designation to omit the Minute Entry as there is not
                PDF to include in the record.

Please electronically file the requested documents, provide a specific date for which this information will be provided
to the Court, or provide information as to why this case should remain open. Failure to respond within 2 days from
the date of this letter may result in the Court setting a status conference to determine why the document(s) has not
been filed or the matter may be denied for want of prosecution.



DATED: 10/12/21                                   FOR THE COURT:
                                                  Robert P. Colwell, Clerk of Court

                                                  by: /s/J. Blanco, Deputy Clerk
                                                  juan_blanco@txnb.uscourts.gov
